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 8                                 UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        No. 2:99-cr-0433 WBS AC P
12                       Respondent,
13             v.                                     ORDER
14   SON VAN NGUYEN,
15                       Movant.
16

17             Counsel for defendant Son Van Nguyen has moved to withdraw as counsel and have

18   attorney Benjamin Ramos appointed as substitute counsel. ECF No. 1802. Local Rule 182(g)

19   requires that a request for substitution “shall be signed by the withdrawing attorney, the new

20   attorney, and the client.” In this case, the motion is signed by only the withdrawing attorney.

21   ECF No. 1802 at 3. In light of counsel’s representation that she must withdraw from the case by

22   June 21, 2019, due to her upcoming employment with the superior court, the motion to substitute

23   will be provisionally granted, pending submission of a motion that complies with Local Rule

24   182(g).

25             Accordingly, IT IS HEREBY ORDERED that:

26             1. The motion for Krista Hart to be relieved as counsel for defendant Son Van Nguyen

27   and to substitute Benjamin Ramos as counsel of record (ECF No. 1802) is provisionally granted.

28             2. Within two weeks of the date of this order, an amended motion to withdraw and
                                                      1
     Case 2:99-cr-00433-WBS-AC Document 1803 Filed 06/20/19 Page 2 of 2


 1   substitute that complies with Local Rule 182(g) must be filed with the court.
 2          3. If a properly executed motion to withdraw and substitute is not filed, the provisional
 3   grant will be vacated and the motion to withdraw and substitute will be denied.
 4   DATED: June 19, 2019
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